     Case 8:19-cv-00163-AGR Document 16 Filed 04/21/20 Page 1 of 1 Page ID #:633




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                              UNITED STATES DISTRICT COURT
 9
                             CENTRAL DISTRICT OF CALIFORNIA
10
11   WALTER DEAN O.,                            )      CASE NO. SACV 19-163 AGR
                                                )
12                             Plaintiff,       )
                                                )      JUDGMENT
13                v.                            )
                                                )
14   ANDREW SAUL, Commissioner of               )
     Social Security,                           )
15                                              )
                               Defendant.       )
16                                              )
17         In accordance with the Memorandum Opinion filed concurrently herewith,
18         IT IS HEREBY ADJUDGED that the judgment be entered for the defendant, the
19   Commissioner of Social Security Administration.
20
21   DATED: April 21, 2020
                                                        ALICIA G. ROSENBERG
22                                                  United States Magistrate Judge
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